 1   James N. Fincher, SBN 196837
     Merced County Counsel
 2   Roger S. Matzkind, SBN 77331
     Chief Civil Litigator
 3   James E. Stone, SBN 197803
     Deputy County Counsel
 4   2222 “M” Street, Room 309
     Merced, California 95340
 5   Tel - (209) 385-7564
     Fax- (209) 726-1337
 6
 7   Attorneys for County of Merced
 8                                       United States District Court
 9                                       Eastern District of California
10
     Karen Crane-McNab, Bert Crane and Mary                 Case No. 1:08-CV-01218-WBS-SMS
11   Crane Couchman., individuals; Karen Crane-
12   McNab, LLC; Bert Crane Orchards, L.P.;                 Declaration of James E. Stone
     Mary Crane Couchman Trust; and Mary
13   Crane Couchman Family Partnership, L.P.,
14
                           Plaintiffs,
15                                                          Date: April 13, 2011
                 vs.                                        Time: 10:30 a.m.
16                                                          Courtroom: TBA
     County of Merced, and Does 1 to 20,
17
18                         Defendants.

19          I, James E. Stone, declare:

20          1.         I am an attorney at law duly licensed to practice before all of the Courts of

21   the State of California and am a Deputy County Counsel for the County of Merced and

22   attorneys for the defendants herein.

23          2.         I have been a licensed attorney in California since 1998. After passing the bar,

24   I was employed at Thomas A. Kendall and Associates in Orange County. I then moved to

25   Fresno and began working for Parichan, Renberg and Crossman. I then worked for five years

26   as a trial attorney with David J. Wells and Associates, in-house counsel for Farmers Insurance

27   Company. I was then a partner with the Stone Law Group in Fresno before coming to the

28   Merced County Counsel's Office, where I have been for the past four and a half years.



                                                        1
                                            Declaration of James E. Stone
 1           3.       Unless otherwise stated, all matters stated herein are based upon my personal
 2   knowledge, and if called upon, I could and would testify competently as to their veracity.
 3   Those matters stated to be based upon my information and beliefs are believed by me to be
 4   true.
 5           4.       On November 15, 2010, after the pretrial conference in the Federal Court in
 6   Fresno, Thomas Campagne, Justin Campagne, Roger S. Matzkind and I met in the
 7   courthouse hallway to determine if there would be any value to mediation. Thomas
 8   Campagne stated that Mr. Souther had opined the gas extraction system being installed
 9   would remedy any intrusion and that because of this, the trial would be 1 ½ days. Mr.
10   Campagne asked for a copy of the BAI for the contract to document the work would be
11   done. He was told there was no migration, but that the BAI would be provided, which was
12   public record.
13           5.       I have spent 200 hours on this case, as documented at Exhibit 1 to this
14   declaration.
15           I declare under penalty of perjury, under the laws of the United States of America, that
16   the foregoing is true and correct. Executed at Merced, California, on March 8, 2011.
17
                                                      /s/ James E. Stone
18                                                   James E. Stone

19
20
21
22
23
24
25
26
27
28



                                                      2
                                          Declaration of James E. Stone
Exhibit 1
               James E. Stone

Dated     Description                 Time
5/26/10   Travel to San Bruno         11.0
          (Federal Archives) for
          copies of eminent domain
          cases
6/9/10    Travel to San Bruno         11.0
          (Federal Archives) for
          more copies of eminent
          domain cases
6/16/10   Review reports by           2.5
          plaintiffs' experts
7/23/10   Review deposition of        2.5
          Phillip Ross
7/23/10   LR re: motion for           4.5
          sanctions
7/26/10   LR re: motion for           5.5
          sanctions
8/17/10   Review opposition to        1.5
          motion for sanctions
8/24/10   Work on reply to            6.5
          opposition to motion for
          sanctions
8/25/10   Work on reply to            4.5
          opposition to motion for
          sanctions
8/26/10   Work on reply to            5.5
          opposition to motion for
          sanctions
8/27/10   Complete work on reply to   3.5
          opposition to motion for
          sanctions
8/27/10   Prepare declaration in      1.0
          support of reply to
          opposition to motion for
          sanctions
9/3/10    Appear at hearing on        1.0
          motion for sanctions
9/10/10   LR re: Rule 11 motion       2.0
9/14/10   Review deposition of        2.0
          Timothy Souther
9/14/10   Review deposition of        2.0
          Jeffery Lien
9/16/10    Review depositions of Bert    2.5
           Crane
9/16/10    Review deposition of          1.5
           Karen Crane-McNab
9/16/10    Review deposition of Mary     1.5
           Couchman
9/29/10    Review plaintiffs'            2.0
           opposition to motion for
           summary judgment
9/29/10    Review plaintiffs' separate   1.5
           statement of disputed
           facts
10/1/10    LR re: reply to opposition    3.5
           to motion for summary
           judgment
10/4/10    Prepare objections to         6.5
           declarations of plaintiffs'
           experts
10/5/10    Complete objections to        5.5
           declarations of plaintiffs'
           experts
10/6/10    Prepare objection to          1.5
           testimony of John McGill
10/6/10    Prepare response to           5.5
           plaintiffs' objection to
           defendant's experts
10/13/10   Review order on motion        1.5
           for summary judgment
10/25/10   Review order on motion        1.0
           for sanctions
11/8/10    Review joint pretrial         1.0
           statement
11/15/10   Attend pretrial conference    1.0
11/18/10   Review pretrial order         1.0
11/24/10   LR re: motions in limine      3.5
           to exclude plaintiffs'
           experts testimony
11/24/10   Review plaintiffs' motions    1.5
           in limine
1/7/11     Meeting with plaintiffs'      3.5
           counsel re: joint exhibits
1/11/11    Review order re: motions      1.0
           in limine
1/14/11    Review plaintiffs' trial      1.5
          brief
1/14/11   Review plaintiffs' witness    1.0
          and exhibit lists
1/18/11   Meeting with witnesses/       5.5
          Preparing for trial
1/19/11   Meeting with witnesses/       6.0
          Preparing for trial
1/20/11   Meeting with witnesses/       6.5
          Preparing for trial
1/21/11   Meeting with witnesses/       7.0
          Preparing for trial
1/24/11   Trial                         8.0
1/25/11   Trial                         8.0
1/26/11   Trial                         8.0
1/27/11   Trial                         4.5
1/31/11   LR for post-trial brief       4.5
2/1/11    LR for post-trial brief       4.0
2/8/11    Review memorandum of          1.0
          decision
2/14/11   LR re: supplement to Rule     2.0
          11 motion
2/16/11   LR re: motion for             2.5
          attorney's fees pursuant to
          42 U.S.C. Section 1988
2/18/11   Prepare notice of motion      1.0
          for attorney's fees
          pursuant to 42 U.S.C.
          Section 1988
2/22/11   Work on points and            5.5
          authorities in support of
          motion for attorney's fees
          pursuant to 42 U.S.C.
          Section 1988
2/23/11   Work on points and            6.0
          authorities in support of
          motion for attorney's fees
          pursuant to 42 U.S.C.
          Section 1988
2/24/11   Complete points and           4.5
          authorities in support of
          motion for attorney's fees
          pursuant to 42 U.S.C.
          Section 1988
TOTAL                                   200
